
Howell, Judge,
delivered the opinion of the court.
Plaintiff, a citizen and resident of the Philippines, sues to recover the value of supplies and money commandeered by a recognized guerrilla unit in 1942 and 1945.
Plaintiff’s petition was filed in this court on February 3, 1953, and defendant has filed a motion to dismiss on the ground that the claim is barred by the statute of limitations because the petition was not filed within six years of September 2, 1945. Marcos v. United States, 122 C. Cls. 641.
In view of the Marcos decision and our decision rendered this day in the case of Alfredo O. Sese v. The United States, ante, p. 526, plaintiff’s petition is not timely and is therefore dismissed.
It is so ordered.
Madden, Judge; Whitaker, Judge; Littleton, Judge; and Jones, Chief Judge, concur.
